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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )               Case No. 8:08CR473
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )                    ORDER
TODD CHARLES MATTHEWS,                          )
                                                )
                     Defendant.                 )



       This case is before the court on the defendant's Motion For Placement Into

Treatment (#49). The defendant requests the court review the issue of detention and place

the defendant in treatment at the Stephen Center. The motion is denied as the defendant

has not proposed a funding source for treatment, and Pretrial Services has informed the

court that they will not serve as the funding source.

       IT IS ORDERED the defendant's Motion For Placement Into Treatment (#49) is

denied without hearing.

       Dated this 1st day of April 2009.

                                             BY THE COURT:


                                             S/ F. A. Gossett
                                             United States Magistrate Judge
